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                United States Court of Appeals
                            FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 19-5130                                                 September Term, 2019
                                                                         1:17-cv-02458-TSC
                                                        Filed On: April 17, 2020
National Women's Law Center and Labor
Council For Latin American Advancement,

              Appellees

       v.

Office of Management and Budget, et al.,

              Appellants

       BEFORE:       Srinivasan, Chief Judge; Rogers and Pillard, Circuit Judges

                                        ORDER

       Upon consideration of the government’s motion to govern further proceedings, it is

      ORDERED that the government’s motion be granted in part. Based on Federal Rule
of Appellate Procedure 27, the following schedule and format for the briefing of the motion
on whether vacatur is warranted will apply:

              Government’s motion to vacate               May 4, 2020
              (not to exceed 5,200 words)

              Appellees’ opposition                       May 14, 2020
              (not to exceed 5,200 words)

              Government’s reply                          May 21, 2020
              (not to exceed 2,700 words)

                                       Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
